Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 1 of 10




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     BUY BUY BABY, INC.
     d/b/a buybuy Baby on Flagler,
     and FLAGLER S.C., LLC

                     Defendants.
                                                    /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Buy Buy Baby, Inc. d/b/a buybuy Baby on Flagler and Defendant

     Flagler, S.C., LLC for injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the

     Americans with Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                            JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.

            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.




                                                        1
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 2 of 10




                                                PARTIES

             4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

     from what constitutes a “qualified disability” under the ADA as he is disabled with

     neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

     Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

     §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

             5.      Defendant Buy Buy Baby, Inc. (also referenced as “Defendant Baby, Inc.,”

     “operator,” lessee” or “co-Defendant”) is a foreign corporation authorized to transact

     business in Florida. Buy Buy Baby, Inc. is a subsidiary of Bed Bath & Beyond, Inc., which

     is an American chain of domestic merchandise retail stores. Bed Bath & Beyond, Inc. is a

     NASDAQ public company on the S&P 600 retail component.

             6.      Defendant Flagler, S.C., LLC (also referenced as “Defendant Flagler,”

     “lessor,” “owner,” or “co-Defendant”) is the owner of real property located at 8221 West

     Flagler Street, Miami, Florida 33144, which is also referenced as Folio 30-4003-035-0050.

     Defendant Flagler’s real property is built out as a community shopping center. Defendant

     Flagler leases its mixed-use community shopping center (in part) to public accommodations

     including (but not limited to) Outback restaurant, U-Fit Health Club, Walgreens Pharmacy,

     Publix Supermarket, PetSmart (and Banfield Pet Hospital), and a hair salon. Defendant

     Flagler also leases a portion of its mixed-use commercial center co-Defendant Baby, Inc.

     who in turn operates its “buybuy Baby” brand retail store (which is the subject of this instant

     action) at that location.




                                                     2
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 3 of 10




                                                   FACTS

            7.      Buy Buy Baby, Inc. is an American retail store chain that operates 135 stores

     across the United States and Canada under the buybuy Baby brand. Buybuy Baby brand

     stores sell merchandise suitable for infants and young children such as strollers, cribs, car

     seats and clothing. All buybuy Baby stores are places of public accommodation pursuant to

     42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5) as an “other” sales establishment. The

     buybuy Baby store located at 8241 West Flagler Street (which is within the 8221 West

     Flagler Street community shopping center) which is the subject of this complaint is also

     referenced as “buybuy Baby (retail) store,” “buybuy Baby on Flagler,” “(retail) store,” or

     “place of public accommodation.”

            8.      As the operator of retail stores which are open to the public, Defendant Baby,

     Inc. is defined as a “Public Accommodation” within meaning of Title III because it is a

     private entity which owns, or operates a retail store; 42 U.S.C. §12182, §12181(7)(E); 28

     C.F.R. §36.104(5).

            9.      Due to the close proximity to Plaintiff’s home to the buybuy Baby on Flagler,

     on May 28, 2021 Plaintiff went to the store to shop.

            10.     On entering the buybuy Baby store, Plaintiff had occasion to visit the

     restroom and while in the restroom Plaintiff met multiple areas of inaccessibility due to the

     fact that he is confined to his wheelchair.

            11.     Due to the inaccessible restroom facilities, Plaintiff has been denied full and

     equal access by the operator/lessee of the retail store (Defendant Baby, Inc.) and by the

     owner/lessor of the commercial property which houses the retail store (Defendant Flagler).




                                                     3
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 4 of 10




             12.       Defendant Baby, Inc. is well aware of the ADA and the need to provide for

     equal access in all areas of its retail stores. Therefore, Defendant Baby, Inc.’s failure to

     reasonably accommodate mobility impaired and disabled patrons by insuring that its buybuy

     Baby store on Flagler is fully accessible is/was willful, malicious, and oppressive and in

     complete disregard for the civil rights of the Plaintiff and in violation of 28 C.F.R. §36.303.

             13.       As the owner of a community shopping center which is operated as various

     places of public accommodation including as retail stores open to the public, Defendant

     Flagler is also a “Public Accommodation” pursuant to 42 U.S.C. §12181(7)(E) and 28

     C.F.R. §36.104(5). On information and belief, as an investor and owner of commercial

     property being used as a public accommodation, Defendant Flagler is aware of the ADA and

     the need to provide for equal access in all areas of its commercial property which are open

     to the public. Failure to reasonably accommodate mobility impaired and disabled patrons at

     its commercial property by ensuring that its commercial property is fully accessible is/was

     willful, malicious, and oppressive and in complete disregard for the Civil Rights of the

     Plaintiff and in violation of 28 C.F.R. §36.303.

             14.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             15.       Plaintiff continues to desire to patronize the buybuy Baby on Flagler, but

     continues to be injured in that he continues to be discriminated against due to the barriers to

     access within that place of public accommodation, all which are in violation of the ADA.

             16.       Any and all requisite notice has been provided.




                                                     4
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 5 of 10




            17.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                     COUNT I – VIOLATIONS OF TITLE III OF THE ADA

            18.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

            19.     Congress explicitly stated that the purpose of the ADA was to:

            (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
            (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,
            (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                    42 U.S.C. §12101(b)(1)(2) and (4).

            20.     Prior to the filing of this lawsuit, Plaintiff personally visited the buybuy Baby

     store on Flagler, however Plaintiff was denied adequate accommodation because, as a

     disabled individual who utilizes a wheelchair for mobility, Plaintiff met architectural

     barriers when he went to the restroom. Therefore, Plaintiff has suffered an injury in fact.

            21.     Defendant Baby, Inc. (operator of the buybuy Baby store on Flagler) and

     Defendant Flagler (owner/lessor of the community shopping center housing that buybuy

     Baby store) have discriminated (and continue to discriminate) against Plaintiff by denying

     full and equal access to, and full and equal enjoyment of, goods, services, facilities,



                                                    5
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 6 of 10




     privileges, advantages and/or accommodations at the buybuy Baby store, in derogation of 42

     U.S.C. §12101 et. seq., and as prohibited by 42 U.S.C. §12182 et. seq. by failing to barriers

     to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily

     achievable.

             22.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     buybuy Baby on Flagler.

             23.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

             24.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

             25.     The commercial space which is owned by Defendant Flagler (owner/lessor)

     and which houses the buybuy Baby store on Flagler (operated by lessee Defendant Baby,

     Inc.) is in violation of 42 U.S.C. §12181 et. seq., the ADA, and 28 C.F.R. §36.302 et. seq.

     As such, both the owner/lessor and the lessee are discriminating against the Plaintiff as a

     result of inter alia, the following specific violations:

       i.    As to Defendant Baby, Inc. (lessee/operator), there is a lack of signage indicating

             accessibility at the restrooms, which is in in violation of Section 4.1.3(16) and 4.30




                                                     6
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 7 of 10




             of the ADAAG and Section 216.6 and Section 703 of the 2010 ADA Standards for

             Accessible Design.

       ii.   As to Defendant Baby, Inc. (lessee/operator), Plaintiff had difficulty using the men’s

             restroom due to difficulty in opening the bathroom door, as it does not have the

             required maneuvering clearance on the pull side of the door. The lack of clearance is

             due to the placement of the trash can which encroaches on the required maneuvering

             clearance on the pull side of the door. This is a violation of Section 4.13.6 of the

             ADAAG and 404.2.4 of the 2010 ADA Standards for Accessible Design.

      iii.   As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff had difficulty closing the lavatory stall

             door without assistance, as the bathroom toilet compartment stall door does not have

             pull handles on both sides of the door near the latch, which is in violation of 28

             C.F.R. Part 36, and ADA/ABA Design Compliance Code Section §604.8.1.2.

      iv.    As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the required maneuvering clearance was not provided due to the

             encroaching item (trash can), which encroaches over the accessible water closet clear

             floor space is a violation of 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

             ADA Standards for Accessible Design.

       v.    As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the seat cover dispenser

             without assistance, as it is mounted behind the water closet and out of reach for

             Plaintiff due to his disability. This is a violation of Section 4.2.5 at Fig. 5(b) of the




                                                     7
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 8 of 10




             ADAAG and Section 308.2.1 of the 2010 ADA Standards for Accessible Design.

             Generally, the standards which require dispensers such as a seat cover dispenser be

             placed so that the maximum high forward reach is 48 in (1220 mm) and the

             minimum low forward reach is 15 in (380 mm) (see Fig. 5(a)). However, in this

             instance, due to the obstruction (of the toilet) to the seat cover dispenser, since the

             high forward reach is over an obstruction, Section 4.2.5 states that reach and

             clearances must meet those shown in Fig. 5(b), so that the maximum high forward

             reach is 46 in (1170 mm) and the minimum low forward reach is 34 in (865 mm).

      vi.    As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the rear wall grab bar does not have the required clearance. The fact

             that the seat cover dispenser is mounted over the rear wall grab bar impinging on the

             clearance is a violation of not providing the required space. Section 609.3 of the

             2010 ADA Standards for Accessible Design.

     vii.    As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not transfer to the toilet without

             assistance, as the side wall grab bar does not have the required clearance as the toilet

             tissue dispenser is mounted over the side wall grab bar which infringes on the

             required space. This is a violation of Section 609.3 of the 2010 ADA Standards for

             Accessible Design.

     viii.   As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the lavatory sink (inside

             the stall) without assistance, as the lavatory sink does not provide the appropriate




                                                    8
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 9 of 10




            knee clearance of at least 27 in (685 mm) high 30 in (760 mm) wide, and 19 in (485

            mm) deep underneath the sink, in violation of 28 C.F.R. Part 36, Section 4.24.3;

            2010 ADA Standards for Accessible Design and Sections 4.19.2 and 4.2.4 of the

            ADAAG and Sections 606.2 and 305.3 of the 2010 ADA Standards for Accessible

            Design.

      ix.   As to Defendant Baby, Inc. (lessee/operator) and Defendant Flagler (owner/lessor of

            the property) (jointly and severally), Plaintiff was exposed to a cutting/burning

            hazard because the lavatory pipes (outside the stall) and water supply lines are not

            completely wrapped which is in violation of Section 4.19.4 of the ADAAG and

            Section 606.5 of the 2010 ADA Standards for Accessible Design, because the

            lavatory pipes are not fully wrapped or maintained.

            26.     Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the commercial property which is being operated as a buybuy Baby

     retail store accessible to persons with disabilities since January 28, 1992. Defendants have

     jointly and severally failed to comply with this mandate.

            27.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the retail

     store therein such that it is made readily accessible to, and useable by, individuals with

     disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez demands judgment against Defendant

     Flagler, S.C., LLC (owner of the commercial property housing the buybuy Baby retail store)

     and Defendant Buy Buy Baby, Inc. (operator of the buybuy Baby retail store) and requests

     the following relief:




                                                   9
Case 1:21-cv-22334-DPG Document 1 Entered on FLSD Docket 06/25/2021 Page 10 of 10




               a)       The Court declare that Defendants have violated the ADA;

               b)       The Court enter an Order directing Defendants to evaluate and neutralize

               their policies, practices and procedures toward persons with disabilities,

               c)       The Court enter an Order requiring that Defendants alter the commercial

               property and the buybuy Baby retail store located therein such that it becomes

               accessible to and usable by individuals with disabilities to the full extent required

               by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 25th day of June 2021.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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                                                  10
